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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

 ANDREW KIMBLE,                            )       CIVIL COMPLAINT
                                           )
        Plaintiff,                         )       CASE NO. 1:20-CV-154
                                           )
 v.                                        )
                                           )       JUDGE JANET T. NEFF
 JAMNBEAN LLC d/b/a                        )
 “JAM’NBEAN COFFEE                         )       MAG. JUDGE SALLY J. BERENS
 COMPANY,” et al.                          )
                                           )
       Defendants.                         )
                                           )

             PLAINTIFF ANDREW KIMBLE’S NOTICE OF DISMISSAL

       Now comes ANDREW KIMBLE and dismisses this action in its entirety with

prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i). As grounds,

Plaintiff states that no Defendant has filed a responsive pleading or a motion for

summary judgment, and Plaintiff may therefore dismiss the action as a matter of right.

See McCord v. Bd. of Educ., No. 17-5548, 2018 U.S. App. LEXIS 2374, at *13 (6th Cir. Jan.

30, 2018).

Dated: April 22, 2021

                                               By: s/ Jonathan Hilton

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